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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF RHODE ISLAND

HELEN SWARTZ, Individually,                       :
                                                  :
                Plaintiff,                        :
                                                  :
vs.                                               :       Case No.:
                                                  :
SEAVIEW INN, LLC, d/b/a                           :
THE WYNDHAM NEWPORT HOTEL,                        :
                                                  :
            Defendant.                            :
_______________________________________/


                                           COMPLAINT
                                    (Injunctive Relief Demanded)

        Plaintiff, HELEN SWARTZ, Individually, on her behalf and on behalf of all other

individuals similarly situated (sometimes referred to as APlaintiff@), hereby sues the Defendant,

SEAVIEW INN, LLC, d/b/a THE WYNDHAM NEWPORT HOTEL (sometimes referred to as

ADefendant@), for Injunctive Relief, and attorney=s fees, litigation expenses, and costs pursuant to

Title III of the Americans with Disabilities Act, 42 U.S.C. ' 12181 et seq. (AADA@).

        1.      Defendant=s property, THE WYNDHAM NEWPORT HOTEL, is located at 240

Aquidneck Avenue, Middletown, RI, in the County of Newport.

        2.      Venue is properly located in the District of Rhode Island because venue lies in the

judicial district of the property situs. The Defendant=s property is located in and does business

within this judicial district.

        3.      Pursuant to 28 U.S.C. ' 1331 and 28 U.S.C. ' 1343, this Court has been given

original jurisdiction over actions which arise from the Defendant=s violations of Title III of the

Americans with Disabilities Act, 42 U.S.C. ' 12181 et seq. See also 28 U.S.C. ' 2201 and '

2202.
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       4.      Plaintiff Helen Swartz is a Florida resident, is sui juris, and qualifies as an

individual with disabilities as defined by the ADA. Ms. Swartz has multiple sclerosis and is

mobility impaired, and uses an electric scooter to ambulate.

               The Plaintiff has enjoyed visiting the Newport Rhode Island area for a variety of

reasons. She has always had an interest in architecture and Newport and its surroundings have an

abundance of beautifully preserved old mansions and historic buildings.

               The Plaintiff and her husband have good friends who live in Newport who they

enjoy visiting. This couple also spends a portion of the year in their condominium building in

Miami Beach.

               One of the Plaintiff’s best friends has several Air B&B properties in the area and

when visiting him, she and her husband experience the particular foods and charms of New

England. The museum at Rhode Island School of Art and Design is another reason that keeps

them returning to the area.

               It is important to note that the Plaintiff has a strong connection to the Northeast.

She was born and raised in New York City and lived for many years in Philadelphia. She also

has friends and family in New York and Philadelphia.

               Helen Swartz was a guest of the subject hotel on June 23 through June 24, 2020,

and has reservations to return to the property on March 14 through March 15, 2020, to celebrate

an early St. Patrick’s Day with friends who are of Irish ancestry and make the holiday extra

celebratory, and to avail herself of the goods and services offered to the public at the property, if

the facilities are fully accessible and the barriers to access have been corrected. The Plaintiff has

encountered architectural barriers at the subject property, which have impaired her use of the

facilities and the amenities offered, and have endangered her safety at the facilities and her




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ability to access the facilities’ facilities and use the restrooms.

        5.      Defendant owns, leases, leases to, or operates a place of public accommodation as

defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.

Defendant is responsible for complying with the obligations of the ADA. The place of public

accommodation that the Defendant owns, operates, leases or leases to is known as THE

WYNDHAM NEWPORT HOTEL, and is located at 240 Aquidneck Avenue, Middletown, RI.

        6.      Helen Swartz has a realistic, credible, existing and continuing threat of

discrimination from the Defendant=s non-compliance with the ADA with respect to this property

as described but not necessarily limited to the allegations in paragraph 8 of this Complaint.

Plaintiff has reasonable grounds to believe that she will continue to be subjected to

discrimination in violation of the ADA by the Defendant. Helen Swartz has visited the subject

property and desires to visit THE WYNDHAM NEWPORT HOTEL in the near future, not only

to avail herself of the goods and services available at the property, but to assure herself that this

property is in compliance with the ADA so that she and others similarly situated will have full

and equal enjoyment of the property without fear of discrimination.

        7.      The Defendant has discriminated against the individual Plaintiff and others

similarly situated by denying them access to, and full and equal enjoyment of, the goods,

services, facilities, privileges, advantages and/or accommodations of the buildings, as prohibited

by 42 U.S.C. ' 12182 et seq.          Furthermore, the Defendant has discriminated against the

individual Plaintiff and others similarly situated by having its ADA accessible guestrooms for

the disabled in a more expensive category than the non-ADA guestrooms.

        8.      The Defendant has discriminated, and is continuing to discriminate, against the

Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,




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1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of

$500,000 or less). A preliminary inspection of THE WYNDHAM NEWPORT HOTEL has

shown that violations exist.   These violations that Ms. Swartz has personally observed or

encountered, and which were confirmed by Plaintiff’s ADA expert, include but are not limited

to:

              a.     The site does not provide a vehicle pull up space. This is in violation of
       section 503 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This
       condition made it difficult for the plaintiff to access the facility.

               b.      An accessible route is not provided from the accessible parking access
       aisles to the site. This is in violation of section 502.3 of the 2010 Standards for
       Accessible Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to
       access the facility.

               c.    Accessible van parking and signage are not provided. This is in violation
       of section 502.6 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This
       condition made it difficult for the plaintiff to access the facility.

                d.   The accessible parking spaces are located far from the accessible
       entrance. This is in violation of section 208.3.1 of the 2010 Standards for Accessible
       Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to access the
       facility.

              e.    The site does not provide the minimum number of accessible parking
       spaces. This is in violation of section 208.2 of the 2010 Standards for Accessible
       Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to access the
       facility.

               f.      In the accessible guestroom bathroom, which hotel deemed an
       accessible guestroom, a projecting object is too close to the side grab bar by the water
       closet. This is in violation of section 806.2.4 of the 2010 Standards for Accessible
       Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to access the
       grab bar.

              g.       In the accessible guestroom bathroom, which hotel deemed an
       accessible guestroom, the toilet paper dispenser is located away from the water closet.



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     This is in violation of section 806.2.4 of the 2010 Standards for Accessible Design: 28
     CFR §36.304. This condition made it difficult for the plaintiff to access the dispenser.

             h.    In the accessible guestroom bathroom, which hotel deemed an accessible
     guestroom, a folding seat is not provided in the Standard Roll-In Type Shower
     Compartment. This is in violation of section 806.2.4 of the 2010 Standards for
     Accessible Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to
     access the shower.

             i.        In the accessible guestroom bathroom, which hotel deemed an
     accessible guestroom, a projecting object is too close to the rear grab bar in the Standard
     Roll-In Type Shower Compartment. This is in violation of section 806.2.4 of the 2010
     Standards for Accessible Design: 28 CFR §36.304. This condition made it difficult for
     the plaintiff to access the facility.

              j.    In the accessible guestroom bathroom, which hotel deemed an accessible
     guestroom, the shower unit in the Standard Roll-In Type Shower Compartment is out of
     reach. This is in violation of section 806.2.4 of the 2010 Standards for Accessible
     Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to access the
     facility.

            k.      In the accessible guestroom bathroom, which hotel deemed an accessible
     guestroom, the shower spray unit in the Standard Roll-In Type Shower Compartment
     does not have an on/off control with a non-positive shut-off. This is in violation of
     section 806.2.4 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This
     condition made it difficult the plaintiff to access the facility.

             l.     In the accessible guestroom, which hotel deemed an accessible
     guestroom, the closet rod is out of reach to a person in a wheelchair. This is in violation
     of section 811.3 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This
     condition made it difficult the plaintiff to hang up her clothes.

             m.      In the accessible guestroom, which hotel deemed an accessible
     guestroom, the window controls are of reach to a person in a wheelchair. This is in
     violation of section 806.2.1 of the 2010 Standards for Accessible Design: 28 CFR
     §36.304. This condition made it difficult the plaintiff to access the facility.

            n.       In the accessible guestroom, which hotel deemed an accessible
     guestroom, the window controls require tight grasping, pinching, or twisting of the wrist
     to operate. This is in violation of section 309.4 of the 2010 Standards for Accessible


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     Design: 28 CFR §36.304. This condition made it difficult the plaintiff to access the
     facility.

            o.       In the accessible guestroom, which hotel deemed an accessible
     guestroom, a turning space is not provided to access the HVAC. This is in violation of
     section 304 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This
     condition made it difficult the plaintiff to access the facility.

             p.      In the accessible guestroom, which hotel deemed an accessible
     guestroom, a maneuvering clearance is not provided to exit the guestroom. This is in
     violation of section 404.2.4 of the 2010 Standards for Accessible Design: 28 CFR
     §36.304. This condition made it difficult the plaintiff to access the facility.

             q.        In the accessible guestroom, which hotel deemed an accessible
     guestroom, items in the guestroom and bathroom are out of reach to a person using a
     wheelchair. This is in violation of sections 308, 806 and 811 of the 2010 Standards for
     Accessible Design: 28 CFR §36.304. This condition made it difficult for the Plaintiff to
     use the facilities.

             r.      Accessible seating is not provided in areas around the hotel. This is in
     violation of sections 226 and 902 of the 2010 Standards for Accessible Design. This
     condition made it extremely difficult for the Plaintiff access the assorted tables; 28 CFR
     §36.202 & §36.304.

            s.        The entry door to the accessible toilet room has hardware that requires
     tight grasping, pinching, or twisting of the wrist to operate. This is in violation of section
     404.2.7 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This condition
     made it difficult for the plaintiff to access the facility.

            t.       In each of the hotel’s accessible toilet rooms, the accessible stall doors
     do not have a door pull on both sides of their doors. This is in violation of section
     604.8.1.2 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This condition
     made it difficult for the plaintiff to access the facility.

             u.       In the hotel’s accessible toilet rooms, a protruding object is spaced too
     close to the side grab bars by each of the water closets. This is in violation of section
     609.3 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This condition
     made it difficult for the plaintiff to access the facility.




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            v.      In each of the hotel’s accessible toilet rooms, the toilet paper seat cover
     dispensers are out of reach to a person in a wheelchair. This is in violation of section
     604.9.6 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This condition
     made it difficult for the plaintiff to access the facility.

            w.      In the hotel’s accessible toilet room with 6 stalls, an Ambulatory
     Accessible Toilet Compartment is not provided. This is in violation of sections 213.3.1
     and 604.8.2 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This
     condition made it difficult for the plaintiff to access the facility.

             x.        In each of the hotel’s accessible toilet rooms, the baby changers are out
     of reach to a person in a wheelchair. This is in violation of section 603.4 of the 2010
     Standards for Accessible Design: 28 CFR §36.304. This condition made it difficult for
     the plaintiff to access the facility.

             y.       The guest laundry is not connected to an accessible route within the site.
     This is in violation of section 206.2.2 of the 2010 Standards for Accessible Design: 28
     CFR §36.304. This condition made it difficult for the plaintiff to access the facility.

              z.    A clear floor space is not provided to a person in a wheelchair to access
     the dryer. This is in violation of section 305 of the 2010 Standards for Accessible
     Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to access the
     facility.

              aa.    Access to the ice machine is out of reach to a person in a wheelchair.
     This is in violation of sections 228 and 308 of the 2010 Standards for Accessible
     Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to access the
     facility.

              bb.  The telephone in the pool area is out of reach to a person in a
     wheelchair. This is in violation of section 309.3 of the 2010 Standards for Accessible
     Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to access the
     facility.

              cc.  The mobile coat/luggage rack is out of reach to a person in a
     wheelchair. This is in violation of section 811.3 of the 2010 Standards for Accessible
     Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to access the
     facility.

             dd.     An accessible route is not provided to the Pergola. This is in violation
     of section 206.2.2 of the 2010 Standards for Accessible Design: 28 CFR §36.202 and


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       §36.304. This condition denied the plaintiff to access the activity.

              ee.      The hotel does not provide the required amount of compliant accessible
       guest rooms, and the accessible rooms are not dispersed among the various classes of
       accommodations. This is in violation of section 224 of the 2010 Standards for
       Accessible Design: 28 CFR §36.304. This denies to Plaintiff the full and equal
       opportunity to stay at the subject hotel. 28 CFR §36.302(e)(1)

               ff.     The accessible features of the facility are not maintained, creating
       barriers to access for the Plaintiff, as set forth herein, in violation of 28 CFR §36.211.


       9.      The foregoing violations are also violations of the 1991 Americans with

Disability Act Accessibility Guidelines (ADAAG), and the 2010 Standards for Accessible

Design, as adopted by the U.S. Department of Justice.

       10.      The discriminatory violations described in paragraph 8 are not an exclusive list of

the Defendant=s ADA violations. Plaintiff requires the inspection of the Defendant=s place of

public accommodation in order to photograph and measure all of the discriminatory acts

violating the ADA and all of the barriers to access. The individual Plaintiff, and all other

individuals similarly situated, have been denied access to, and have been denied the benefits of

services, programs and activities of the Defendant=s buildings and its facilities, and have

otherwise been discriminated against and damaged by the Defendant because of the Defendant=s

ADA violations, as set forth above. The individual Plaintiff, and all others similarly situated will

continue to suffer such discrimination, injury and damage without the immediate relief provided

by the ADA as requested herein. In order to remedy this discriminatory situation, the Plaintiff

requires an inspection of the Defendant=s place of public accommodation in order to determine

all of the areas of non-compliance with the Americans with Disabilities Act.

       11.     Defendant has discriminated against the individual Plaintiff by denying her access

to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or


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accommodations of its place of public accommodation or commercial facility in violation of 42

U.S.C. ' 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to

discriminate against the Plaintiff, and all those similarly situated by failing to make reasonable

modifications in policies, practices or procedures, when such modifications are necessary to

afford all offered goods, services, facilities, privileges, advantages or accommodations to

individuals with disabilities; and by failing to take such efforts that may be necessary to ensure

that no individual with a disability is excluded, denied services, segregated or otherwise treated

differently than other individuals because of the absence of auxiliary aids and services.

       12.     Plaintiff is without adequate remedy at law and is suffering irreparable harm.

Considering the balance of hardships between the Plaintiff and Defendant, a remedy in equity is

warranted. Furthermore, the public interest would not be disserved by a permanent injunction.

Plaintiff has retained the undersigned counsel and is entitled to recover attorney=s fees, costs and

litigation expenses from the Defendant pursuant to 42 U.S.C. ' 12205 and 28 CFR 36.505.

       13.     Defendant is required to remove the existing barriers to the physically disabled

when such removal is readily achievable for its place of public accommodation that have existed

prior to January 26, 1993, 28 CFR 36.304(a); in the alternative, if there has been an alteration to

Defendant=s place of public accommodation since January 26, 1992, then the Defendant is

required to ensure to the maximum extent feasible, that the altered portions of the facility are

readily accessible to and useable by individuals with disabilities, including individuals who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant=s facility is one which was designed

and constructed for first occupancy subsequent to January 26, 1993, as defined in 28 CFR

36.401, then the Defendant=s facility must be readily accessible to and useable by individuals

with disabilities as defined by the ADA.




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        14.     Notice to Defendant is not required as a result of the Defendant=s failure to cure

 the violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees

 and gross receipts of $500,000 or less). All other conditions precedent have been met by

 Plaintiff or waived by the Defendant.

        15.     Pursuant to 42 U.S.C. ' 12188, this Court is provided with authority to grant

 Plaintiff Injunctive Relief, including an order to require the Defendant to alter THE

 WYNDHAM NEWPORT HOTEL to make those facilities readily accessible and useable to the

 Plaintiff and all other persons with disabilities as defined by the ADA; or by closing the facility

 until such time as the Defendant cures its violations of the ADA. The Order shall further require

 the Defendant to maintain the required assessable features on an ongoing basis.


        WHEREFORE, Plaintiff respectfully requests:

                a.     The Court issue a Declaratory Judgment that determines that the

        Defendant at the commencement of the subject lawsuit is in violation of Title III of the

        Americans with Disabilities Act, 42 U.S.C. ' 12181 et seq.

                b.     Injunctive relief against the Defendant including an order to make all

        readily achievable alterations to the facility; or to make such facility readily accessible to

        and usable by individuals with disabilities to the extent required by the ADA; and to

        require the Defendant to make reasonable modifications in policies, practices or

        procedures, when such modifications are necessary to afford all offered goods, services,

        facilities, privileges, advantages or accommodations to individuals with disabilities; and

        by failing to take such steps that may be necessary to ensure that no individual with a

        disability is excluded, denied services, segregated or otherwise treated differently than

        other individuals because of the absence of auxiliary aids and services, and to require the



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       institution of a policy that requires Defendant to maintain its accessible features.

              c.        An award of attorney=s fees, costs and litigation expenses pursuant to 42

       U.S.C. ' 12205.

              d.        Such other relief as the Court deems just and proper, and/or is allowable

       under Title III of the Americans with Disabilities Act.



 Dated: July 22, 2020                         Respectfully submitted,


                                              /s/ Kensley R. Barrett
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